                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                       Alexandria Division



 DIGINUS BY,

       Plaintiff,

 V.                                                  Civi 1 Action No. 1:19-cv-1089-LO-JFA


 1001.COM, an Internet domain name, and
 JOHN DOE,

       Defendants.




                irnoroDB#! order to publish notice of action


       Upon consideration of Plaintiff"s Motion for an Order to Publish Notice of Action and

Plaintiffs Memorandum of Law and Declaration in support thereof, IT IS HEREBY

ORDERED:


       1.      That a copy of this Order be published in either The Washington Post or The

Washington Times once per week for six consecutive weeks, commencing within fourteen (14)

days after entry ofthis Order.

       2.      That Plaintiff shall serve a copy of this Order on: (i) Defendant John Doe and the

defendant domain      name       1001.com (the "Domain Name") via the e-mail address

al3067085052@163.com, and (ii) VerlSlgn, Inc., as the person or persons in possession of the

1001.com domain name.


       3.      That a declaration be filed on Plaintiffs behalf, no later than seven (7) days after

the completion of the above-stated provisions of this Order, describing the steps that have been

taken to comply with this Order.
